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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


    901 ERNSTON ROAD LLC,                        Civil Action No.: 3:18-cv-02442-AET-TJB

                            Plaintiff,
                                                 Oral Argument Requested
                  v.


    BOROUGH OF SAYREVILLE ZONING                 Return Date: To be determined
    BOARD OF ADJUSTMENT; and
    BOROUGH OF SAYREVILLE,
                                                       (Document filed electronically)
                           Defendants.




    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S APPLICATION FOR AN
        ORDER TO SHOW CAUSE WHY THE COURT SHOULD NOT ISSUE A
    PRELIMINARY INJUNCTION DIRECTING ISSUANCE OF NECESSARY ZONING
          APPROVALS AND ENJOINING DISCRIMINATORY CONDUCT




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       Plaintiff, 901 Ernston Road LLC (“Plaintiff”), respectfully submits this memorandum of

law, and the accompanying Certifications of Dr. Deni Carise (the “Carise Cert.”) and David B.

Himelman, Esq. (the “Himelman Cert.”), in support of its application for entry of an Order

requiring Defendants, Borough of Sayreville Zoning Board of Adjustment (the “Board”) and

Borough of Sayreville (the “Borough” and, with the Board, “Defendants”), to show cause why the

Court should not grant for a preliminary injunction (a) directing Defendants to issue all zoning

approvals necessary for the construction and operation of a proposed residential drug and alcohol

treatment facility; and (b) enjoining Defendants from persisting in discriminatory conduct directed

to the construction and operation of that facility.

I.     STATEMENT PURSUANT TO LOCAL RULE 65.1(a)

       The circumstances of this action necessitate emergent relief through a procedure other than

notice of motion. As detailed infra, Plaintiff seeks to construct and operate a residential drug and

alcohol treatment facility at a specific location in the Borough of Sayreville, Carise Cert. ¶¶ 1-27,

and Defendants have prevented Plaintiff from doing so for improper discriminatory reasons, see

section II.F. The landlord for the property at which Plaintiff is constructing the facility has

imposed a March 31, 2018 deadline (allowing an additional ten days for written notice) for Plaintiff

to decide whether to terminate the existing long-term lease agreement. Carise Cert. ¶ 30. If the

Court does not issue the requested injunctive relief prior to the termination date, Plaintiff will be

forced to either incur a 10-year lease obligation without knowing whether it will ever be able to

use the property, or terminate the lease, forever losing the opportunity to operate at the desired

location, a result that would cause irreparable harm to Plaintiff and Plaintiff’s intended patients

(individuals in and around Sayreville battling substance abuse). Id., ¶¶ 30-31. Thus, Plaintiff has

shown good and sufficient reason for this Court to proceed in an expedited manner. L. CIV. R.

65.1(a).

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II.    INTRODUCTION

       At the heart of this Action is a 6.96 acre property (the “Property”) in a non-residential

zoning district designated for Public, Recreational, Institutional, Municipal and Educational uses

(the “PRIME” zone) in the Borough of Sayreville. Plaintiff entered into a long-term lease

agreement with the Property owner, 901 Ernston Realty, LLC (the “Landlord”), and plans to

renovate an existing main building and add certain details, and then operate on the Property a drug

and alcohol abuse treatment facility and residential healthcare facility (the “Facility”). Under the

Sayreville Zoning Code (the “Ordinance”), that anticipated use—a long term healthcare facility—

is a conditional use in the PRIME zone. See Himelman Cert. ¶ 2, Ex. A (Ordinance, § 26-85(b)(5)).

       Substance-abuse treatment facilities are desperately needed now more than ever because

prescription opioid and heroin abuse have reached epidemic levels, as recognized both by the State

of New Jersey (in Governor Christie’s Executive Order No. 163 declaring that “our country and

the State of New Jersey suffer under a substance abuse and addiction epidemic” and establishing

a “Facing Addiction Task Force”) and Congress (in its recent enactment of the Comprehensive

Addiction and Recovery Act of 2016, which authorized the Attorney General and Secretary of

Health and Human Services to award grants to address the crisis).1 The crisis is especially

pronounced in New Jersey, where the heroin overdose rate is triple the national average, with one

hard-hit community suffering an overdose death rate twenty-five times the national average.2




1
  See Comprehensive Addiction and Recovery Act of 2016, PL 114-198 [S. 524], July 22, 2016,
130 Stat 695.
2
  See Stephen Stirling, N.J. heroin overdose death rate is triple the soaring U.S. rate, N.J.com,
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       Plaintiff’s efforts to combat this crisis in Middlesex County have been thwarted by

Defendants, who have blocked the Facility based solely on unfounded not-in-my-backyard

(“NIMBY”) fears about Plaintiff’s disabled patients. Defendants unlawfully denied Plaintiff’s

zoning applications and refused to provide reasonable accommodations, thereby preventing

Plaintiff from operating the Facility, notwithstanding the clear language and intent of the

Ordinance and the Board’s express acknowledgements that the Facility constitutes an inherently

beneficial use. Defendants’ stated justifications for this conduct smack of unlawful discrimination

against the disabled and handicapped, and find no factual support in the record. Indeed, at the final

hearing on Plaintiff’s request for a use variance (which itself was unnecessary), Board members

freely offered patently discriminatory reasons for their actions animated by unfounded stereotypes:

   -   Zoning Board Chairman Ronald Green stated:
          o “[D]rug addicts are smart, at times desperate, and their personality sometimes
             matches their addiction. That’s true. I’ve spent 35 years in the [police department].
             I’ve seen thousands of drug addicts and people with alcohol (sic). That can create
             another safety problem for the facility and for the people outside.” Himelman Cert.
             ¶ 11, Ex. E, 1/24/18 Zoning Board Hearing.
   -   Followed by Commissioner Anthony Esposito’s remarks:
           o “The ramifications, in my opinion, of when something happens, versus if something
             happens, keeps me up at night.” Id., Ex. E, 1/24/18 Tr. at 140.
           o “I think the people who own homes in that area are convinced, as I am, that they’re
             not safe -- entirely safe when they leave their homes at night, or even during the
             day.” Id., Ex. E, 1/24/18 Tr. at 140-41.
           o He would be unable to look his friends “in their eyes and say, you know what? I
             voted yes for this to come in, in this particular area, and I had no regard for your
             safety.” Id., Ex. E, 1/24/18 Tr. at 142.
   -   Commissioner Phil Emma:
         o “Public safety concerns troubled me the most. The proximity to the school, how
            residential areas surround the facility, and all you need is one accident, all you need
            is one person to escape, and they’re really – if somebody wants out, there’s really
            nothing stopping them from leaving. If they want out, they’ll figure out a way to
            break out.” Id., Ex. E, 1/24/18 Tr. at 142-43.
   -   Commissioner Tom Kuczunksi:
         o “Police officers have stated that it draws a poor element near the facility. People
            that live nearby basically said that they’re going to move out, they have families


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                 which are going to move out to protect their families. I think it’s going to possibly
                 disable the -- distable (sic) the community.” Id., Ex. E, 1/24/18 Tr. at 144.
             o “You know, we have families they’re, they’re going to move out, and possibly other
               types move in. You know, Sayreville is a family oriented, working community, so
               I don’t want that neighborhood to change because of this.” Id., Ex. E, 1/24/18 Tr.
               at 144-45.
     -   Commissioner Maria Catallo:
           o “We need to protect the children that we have right next to this rehabilitation center
              that they want to put there. It’s no good. We’re 200 feet away from each other.
              They’re babies. They’re not even the older children that maybe would know what’s
              going on, or what they’re saying to them. They’re babies. They’re innocent.” Id.,
              Ex. E, 1/24/18 Tr. at 146.
     -   Commissioner John Corriagan:
           o “From my point of view, there is no more an important objective to have begin
              with, is to protect both our children and our elderly, who would almost certainly be
              the victims of any type of brazen crime.” Id., Ex. E, 1/24/18 Tr. at 146-47.
             o “So I -- in all the weighing of all the facts, and all the conditions, I could not destroy
               the quality of life for the people in this neighborhood, and to put the people of the
               school, the children of the school, in danger.” Id., Ex. E, 1/24/18 Tr. at 147.

 Faced with such discrimination and unable—despite considerable efforts—to convince the Board

 to not base its decision on irrational fears, Plaintiff was forced to commence this action, asserting

 violations of, inter alia, the Fair Housing Act of 1968, as amended by the Fair Housing

 Amendments Act of 1988 (the “FHA”), the Americans with Disabilities Act (the “ADA”), the

 Rehabilitation Act (the “RA”), and the Fourteenth Amendment of the U.S. Constitution.

         With this motion, Plaintiff seeks a preliminary injunction enjoining Defendants from

 persisting in their discriminatory conduct and directing them to issue the zoning approvals

 necessary to renovate and operate the existing building on the Property for use as a residential

 treatment facility for persons recovering from drug addiction and alcoholism. As demonstrated

 below, Plaintiff has proffered evidence establishing all of the prerequisites for that injunctive relief.

         First, Plaintiff has established a reasonable probability of success on the merits. Numerous

 expert witnesses, including Defendants’ own professional planning consultant, agreed that the

 Facility’s proposed use is both “inherently beneficial” and nearly identical to the previously

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 approved nursing facility on the Property, a use determined by the Zoning Board to be permitted

 as of right in the PRIME zone. Furthermore, statements of Defendants’ own representatives at

 public hearings make clear that Defendants are actively discriminating against those with drug and

 alcohol addictions—recognized disabilities under settled law—for baseless and offensive reasons.

 The record thus establishes that Defendants have subjected Plaintiff and its intended patients to

 disparate treatment and disparate impact, and have not provided reasonable accommodations, all

 in violation of the FHA, ADA, RA and the Fourteenth Amendment.

        Second, Plaintiff and its intended patients will suffer immediate and irreparable harm in

 the absence of the requested injunctive relief, as the delay in or denial of drug and alcohol treatment

 to Plaintiff’s intended patients resulting from Defendants’ obstructionist behavior is classic

 irreparable harm. Further, because the Landlord has imposed a March 31, 2018 deadline to decide

 whether to terminate the lease agreement, an immediate decision from this Court is necessary to

 prevent Plaintiff from permanently losing its ability to construct the Facility at the desired location.

        Third, Defendants will suffer no harm by issuance of the necessary approvals. The Facility

 falls under the definition of “long-term care facility” as defined in the Ordinance, and the record

 demonstrates that the concerns and fears couched in the hearings as “negatives” that purportedly

 outweigh the Facility’s beneficial use are mere pretense to disguise impermissible discrimination.

 The balance of equities thus tips decidedly in Plaintiff’s favor.

        Fourth, the requested relief will serve the public interest, as the drug and alcohol treatment

 the Facility will provide will address the addiction epidemic plaguing the country and New Jersey.

        For the reasons outlined above and amplified below, the Court should enter a preliminary

 injunction directing Defendants to issue all zoning approvals necessary to renovate and operate the

 Facility, and enjoining Defendants from engaging in further discriminatory conduct.



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 III.   FACTUAL BACKGROUND

            Plaintiff’s Mission

        Plaintiff is an affiliate of Recovery Centers of America (“RCA”), a company whose

 mission is to provide neighborhood-based recovery campuses for patients suffering from drug and

 alcohol addiction. Carise Cert., ¶ 2. RCA’s team of leading industry and academic professionals

 has designed an innovative treatment model to improve patient outcomes by extending the length

 of treatment while offering the full range of patient services in an integrated healthcare campus

 environment. Id. ¶ 3. RCA’s approach to addiction treatment provides facilities that accommodate

 every stage of patient treatment within a structured environment, including residential

 detoxification, residential inpatient treatment, and outpatient treatment. Carise Cert. ¶ 4. Critical

 to the success of its treatment model, RCA locates its healthcare campuses in or near the

 communities where its patients live, thereby ensuring that patients maintain connections with their

 peers in recovery and reintegrate into daily life without losing access to treatment providers. Carise

 Cert. ¶ 5; Himelman Cert. ¶ 11, Ex. C, 11/8/17 Zoning Board Hearing Tr. at 32-33 (“all the science

 shows that if your family or employer is involved in your treatment, your chances of success go

 up very high. So we invest a lot in having family therapists, having education for families”).

            Plaintiff’s Lease of the Property

        Plaintiff and Landlord entered into a long-term lease agreement dated January 18, 2018 for

 the Property, which is located in the Borough’s PRIME zone. Carise Cert. ¶¶ 6-7. According to

 the Sayreville Zoning Code, long-term healthcare facilities, nursing facilities, and nursing homes

 are conditionally approved uses within the PRIME zone. Id. ¶ 8. In fact, in May 2014, Sayreville

 Nursing, LLC received preliminary and final site plan approval from the Sayreville Planning Board

 to operate on the Property a long-term care nursing home facility, a use the Board’s engineer and



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 the Borough’s planner confirmed is an approved use as of right within the PRIME zone. Id. ¶ 9;

 Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 9-10.

            Plaintiff’s Proposed Facility and Intended Patients

        Plaintiff plans to renovate an existing main building on the Property, add parking and

 landscaping details, and then operate the Facility in a campus-like setting as a substance abuse

 treatment facility and residential healthcare facility. Carise Cert. ¶ 10. Plaintiff’s plan for the

 Facility includes nursing care around the clock—twenty-four hours a day and seven days a week—

 as well as social workers, clinical and family therapists, counselors and patient support staff. Id.

 ¶ 11. The Facility’s focus will be education, treatment, rehabilitation and continuing recovery

 support for patients suffering with substance use and mental health disorders. Id. ¶ 12.

        Plaintiff will admit patients, based on their individual needs, for varying levels of care:

 residential detoxification; residential in-patient care; and multiple levels of out-patient services.

 Carise Cert. ¶ 13; Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 36. Only patients receiving

 residential treatment will be permitted to reside on the treatment campus. Carise Cert. ¶ 14;

 Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 36-37, 43. The in-patient and out-patient services will

 be strictly separated (with separate entrances), and their respective patients will have no contact

 with one another. Carise Cert. ¶ 15; Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 105-06.

        The Facility’s patients will pose no safety risk to the surrounding community. Carise Cert.

 ¶ 16. Critically, patients are not referred to RCA from the criminal justice system as an alternative

 to conviction or incarceration. Carise Cert. ¶ 17; Himelman Cert. ¶ 11, Ex. D, 12/13/17 Zoning

 Board Hearing Tr. at 75-76. Plaintiff will have extensive screening procedures in place and will

 not admit any patient who is deemed a danger to themselves or others. Carise Cert. ¶ 18. Plaintiff

 will not allow patients to leave the Facility unaccompanied or on foot, and will employ RCA’s

 stringent policies for visitation, supervision, and safety and security protocols. Id. ¶ 19.

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            Plaintiff’s Application for Zoning Interpretation

        On or about June 23, 2017, RCA requested that the Zoning Board confirm that the

 Facility’s proposed use is permitted in the PRIME zone. Id. ¶ 20. In response, the Sayreville

 Zoning Officer advised RCA to file a formal permit application requesting such confirmation. Id.

 Thus, on July 7, 2017, RCA filed a formal application with the Sayreville Zoning Officer for a

 zoning permit to seek approval and confirmation that the proposed drug and alcohol use disorder

 treatment facility and residential health care treatment facility to be operated by RCA on the

 Property is a conditionally permitted use in the PRIME zone. Id. ¶ 21.

        Although Plaintiff’s business operations are fundamentally similar to those of a long-term

 healthcare facility or nursing home, the Zoning Officer erroneously denied Plaintiff’s permit

 application on July 14, 2017 without a valid nondiscriminatory reason. Id. ¶ 22. On July 26, 2017,

 Plaintiff timely appealed that denial to the Board. Id. ¶ 23. The Board scheduled a hearing on the

 appeal for August 23, 2017, but carried the matter to its September 27, 2017 meeting due to a lack

 of quorum. Id. ¶ 24. During the September 27, 2017 hearing, RCA presented testimony

 demonstrating that the Facility’s proposed use meets the definition of a long-term care facility

 under the Ordinance. The Board, however, took no action on the appeal at the meeting. Id. ¶ 26.

            Plaintiff’s Application for a Use Variance

        Even though the Facility did not require a variance, RCA—hoping to move the approval

 process forward—filed on September 15, 2017 an application with the Board for Use Variance

 and Amended Site Plan approval (the “Variance Application”) for the Facility (under a reservation

 of rights and without prejudice to its appeal of the Zoning Officer’s permit denial). Carise Cert. ¶

 25. The Zoning Board held three public hearings on the Variance Application on November 8,

 2017, December 13, 2017, and January 24, 2018, id. ¶ 27, during which Plaintiff presented

 extensive evidence supporting the Variance Application. Indeed, Dr. Deni Carise, RCA’s Chief

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 Scientific Officer, outlined the urgent public interest in combating substance abuse—specifically,

 the critical need to address pharmaceutical and legal drug addiction—explaining that “the people

 that we treat, they are your neighbors. They are your coworkers. They are people that often got

 into addiction from a prescription drug.” Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 32. Dr.

 Carise detailed the RCA treatment model and the philosophy behind its commitment to supporting

 patients from the surrounding area and their families until complete recovery: “We are heavily

 based on the neighborhood model . . . all the science shows that if your family or employer is

 involved in your treatment, your chances of success go up very high. So we invest a lot in having

 family therapists, having education for families.” Id., Ex. C, 11/8/17 Tr. at 33.

        Experts and counsel for both parties advised the Board that because substance-abuse

 patients are a protected class under federal and state law, the Borough must provide reasonable

 accommodations to help house and rehabilitate the Facility’s patients. Himelman Cert. ¶ 11, Ex.

 E, 1/24/18 Hearing Tr. at 131-32. For example, James Higgins, a licensed professional planner

 with forty years’ experience, explained that the variance would satisfy the Borough’s obligation

 to provide reasonable accommodation because the proposed use was “not permitted anywhere in

 the Borough. And in order to provide reasonable accommodation, it has to be permitted

 somewhere.” Id., Ex. C, 11/8/17 Tr. at 133. Christine Cofone, a planning and zoning expert,

 testified that “there have been decisions in New Jersey that have rendered these type of facilities

 as inherently beneficial.” Id., Ex. D, 12/13/17 Tr. at 89. As a result, Cofone opined, “I can’t think

 of a more inherently beneficial use in this kind of climate than the proposed recovery center.” Id.

        Furthermore, numerous witnesses addressed the potentially negative effects to weigh

 against the Facility’s beneficial nature, and demonstrated that there are no “substantial negative

 impacts that are associated with this application.” Id., Ex. C, 11/8/17 Tr. at 130. Specifically, Mr.



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 Higgins identified five theoretical negative criteria—aesthetics, noise, traffic, safety, and impact

 on zoning—that might possibly weigh against the public interest served by the Facility. Id.

 Multiple experts addressed those criteria at length, presenting substantial evidence negating each

 one. First, the undisputed testimony established that “aesthetics isn’t a real concern . . . because it

 won’t be that readily visible from -- from the street or from surrounding properties.” Id., Ex. C,

 11/8/17 Tr. at 129. Second, due to the Property’s location (next to a Garden State Parkway

 overpass, across the street from a multi-family development, and bordered on the remaining sides

 by wooded and open water areas), the experts agreed, “clearly, with respect to use, there is not

 going to be any significant noise that would impact surrounding properties.” Id. Third, Plaintiff’s

 traffic safety expert testified that (a) the Facility would not impact the safety of the roadways; and

 (b) the existing driveway would accommodate projected traffic flow safely and efficiently, and

 would not impact operating conditions on Ernston Road. Id., Ex. C, 11/8/17 Tr. at 120.

        Witness also addressed safety, the fourth potentially negative effect. Dr. Carise testified

 that: “patient safety is our number one concern, as well as safety for our staff, safety for our

 neighbors. Again, I’ve described who comes into treatment. These are not indigent criminals that

 are adjudicated to us. These are people who are voluntarily coming into treatment.” Id., Ex. C,

 11/8/17 Tr. at 51. Finally, regarding the impact to zoning (the fifth potentially negative criteria),

 Ms. Cofone testified that the Facility’s proposed use is in line with and operationally nearly

 identical to the intentions of and potential uses imagined within the language of the existing Code,

 stating that “from a planning and land use impact point of view, I don’t see the substantial

 detriment to your zone plan.” Id., Ex. D, 12/13/17 Tr. at 90. And Mr. Higgins observed that the

 building itself is “laid out perfectly for a nursing home, for a long-term care facility, other uses




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 that could exist in the PRIME zone. So it’s not going to have a substantial negative impact, either

 short term or long term, on your zoning ordinance.” Id., Ex. C, 11/8/17 Tr. at 130.

        Experts further testified that the Property is well suited for the Facility’s proposed use: “the

 site is ideal for [the proposed use] because of the layout of the site, the fact that it’s not readily

 visible from surrounding properties. The building is situated and well suited to the use. And to

 provide it here I think is a very reasonable accommodation for this use, which is a necessary use.”

 Id., Ex. C, 11/8/17 Tr. at 133-34. Mr. Higgins elaborated that the Board must consider:

        whether the site is particularly suited for this use and the general welfare would be
        advanced. Clearly the use is a beneficial use. The site, being a former nursing
        home, and because it’s secluded from surrounding properties, you can’t see it, the
        layout of the building, the layout of the site are ideally suited to this use, which,
        again, is very similar in its function to a nursing home or a long-term care facility.
        So I think the site is particularly suited to use and the general welfare is advanced
        because of that particular suitability.
 Id., Ex. C, 11/8/17 Tr. at 131-32.

        All witnesses testified that the potential negatives were far outweighed by the positive

 criteria and inherently beneficial nature of the Facility, affirming that the variance should have

 been granted. Even John Leoncavallo, Township Planner and Planning Consultant for the Board,

 conceded that the facts supported granting the application for the variance, stating for the record:

        Mr. Chairman, one comment. We talked about this before. Our ordinance has some
        obsolete items in it, because it was approved in 1999. That’s not a significant
        amount of time. We are looking at some of these things in the PRIME zone. Back
        then, we didn’t have this type of animal. We didn’t have, you know, drug
        rehabilitation to this kind of degree and scale. I agree with my research, yeah, we
        have a real problem. And as Mr. Higgins said, it’s a state problem and a nationwide
        problem. And there’s a lot of reasons for that. So -- but I concur with him in terms
        of there is a significant need.
        And I think the need can be demonstrated that there is a licensure procedure to
        follow, and that is indicative of a need. And then I think we can go to the issues
        with, you know, the populations that are in this. And I think, of course, they’re
        younger [even though the Ordinance states ‘for older adults’], but you could have
        people that are older that -- that become addicted to opioids, you know, because of,
        you know, pain or relief of pain. So -- and I think the policies of the state are
        apparent. I think -- I agree with his balancing test.

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        So I think it’s something you have to think of. He’s looked at the aesthetics, the
        noise, the traffic, safety. A lot of those things are minimal in this case. I think this
        is a -- you know, an appropriate place for this.
        And it is isolated, given the elevation it’s at and the situation with the adjacent
        parkway being right there. So I think we have to look at this in the future in terms
        of remodifying some of our ordinance. We talked about doing signage over again,
        because a lot of the signage regulations that we have from then, or really before
        1999, probably 1997, 1998, really don’t -- aren’t all applicable now. . . So I concur
        with Jim [Higgins], and I agree with his opinions.
 Id., Ex. C, 11/8/17 Tr. at 142-44 (emphasis added).

            The Board’s Decision on Plaintiff’s Application

        Despite repeated warnings by counsel, the Board shirked its legal obligation to rely on

 objective evidence and relied instead on unfounded concerns and pretext, voting unanimously to

 deny Plaintiff’s variance application. To the extent Board members voiced “safety” concerns,

 there were obvious solutions. By rejecting or ignoring potential remedies, Defendants made clear

 their willingness to erect roadblocks to block the Facility and its patients from the Borough.

        For example, Chairman Green cautioned that “cameras and monitors are only good as the

 staff who’s responsible for them,” and then discussed his own “experience with cameras and

 monitors” as a police officer, stating “if you get busy, you’re not going to see these cameras; you’re

 not going to see the shadow going by. Security could be compromised if you’re not watching

 these cameras at all times.” Himelman Cert. ¶ 11, Ex. E, 1/24/18 Tr. at 135. Concern over the

 inadequacy of the security cameras and monitors was not premised on any objective evidence

 presented during the hearing, but rather on Chairman Green’s purported experience in a different

 context. Moreover, stated concerns about the security cameras were: (a) something that could be

 addressed with a condition (additional personnel, advanced technology, etc.); and (b) a thinly

 disguised pretext for discriminating against patients that the Chairman perceives as dangerous for

 no reason other than that they are receiving treatment for addiction.


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        Commissioner Esposito exemplified the Board’s desire to fabricate unsolvable problems

 to get rid of the Facility and its patients. He reasoned that “[i]n previous testimony, RCA had

 mentioned that there is one un-armed security guard within the entire complex. I think that the

 complex is huge; I don’t think it’s nearly enough.” Id., Ex. E, 1/24/18 Tr. at 141. This subjective

 opinion about staffing levels was contrary to all evidence on the subject. Thereafter, Esposito

 acknowledged that Plaintiff is willing to work with the Board to impose conditions to ensure the

 Facility employs an acceptable level of security staff, noting “they [RCA] were kind enough, when

 we raised some objections about security, and about personnel, that they would increase security,

 they’d say, okay, well, what do you think the proper number of security guards are, we’ll man

 them, we’ll put them to work? As far as people coming and going, they would make sure that they

 would be escorted off the property, they just couldn’t leave on their own.” Id.

        But instead of enumerating the conditions under which he would be satisfied with the

 security personnel at the Facility, Commissioner Esposito protested the very act of Plaintiff

 offering to agree to such conditions: “I appreciate that very much, but what bothers me a little bit

 here is that these should have been put in place before we had to ask. If my math is correct, you'll

 bill around $37,000,000 a year, 750 a day times 150 beds, or thereabouts, you could certainly

 afford more personnel.” Id. Throughout the three hearings, Plaintiff expressed that it would accept

 and impose all conditions the Board suggested. Id., Ex. C, 11/8/17 Tr. at 75-78, 130-31; Ex. D,

 12/13/17 Tr. at 56-58, 90-91; Ex. E, 1/24/18 Tr. at 14-15. Certainly, Plaintiff’s willingness to

 permit the Board to suggest the “proper number of security guards” should have been enough to

 alleviate Commissioner Esposito’s security concern. It was not, because Commissioner Esposito

 did not want the supposed concerns alleviated, but rather wanted a pretext to reject the Facility.




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 Commissioner Esposito’s rejection of an obvious solution to a perceived problem is clear evidence

 that his reasons for denying reasonable accommodations to the Facility were discriminatory.

        Board members also stated reasons for denying reasonable accommodation based on

 “financial concerns” unsupported by the record, ignoring expert testimony in favor of unfounded

 assertions or fear-driven stereotypes. Commissioner Esposito barked that “home values would be

 reduced about 17 percent” (Id., Ex. E, 1/24/18 Tr. at 142), an un-sourced statistic that was not

 backed up by any objective evidence. Vice Chairman Henry parroted testimony from one of the

 residents: “as to the police officer that came up here had indicated one of these facilities, they

 needed to have additional police patrols around these facilities. I’m not sure what the actual

 reasons were, but it cost the -- you know, the -- they seemed to need to have those additional police

 officers at these facilities, and I think that would be concern too for the residents of the area.” Id.,

 Ex. E, 1/24/18 Tr. at 140. Vice Chairman Henry openly admitted that he had no idea if the public

 comment was accurate or relevant. Id. None of the proffered testimony (expert or otherwise) gave

 any indication that the “facilities” were comparable to the Facility here; nonetheless, the Board

 relied on unsubstantiated testimony from a member of the public to deny the variance.

         Finally, Board members based their variance denial on factors that denied a reasonable

 accommodation anywhere in the Borough. For example, Chairman Green’s argument that the

 criteria used to determine whether a prospective patient receives “outpatient versus inpatient”

 treatment presents a safety concern is a nonsensical, especially considering that no further

 explanation or objective evidence to support these findings was presented. Id., Ex. E, 1/24/18 Tr.

 at 136. The Board was clearly attempting to use the insurance industry as a scapegoat because

 they do not want to say that it is the Facility’s patients they do not trust based on their status as

 disabled individuals. Moreover, by denying the variance based on the insurance industry’s role in



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 the treatment process, the Board precluded a treatment facility from being constructed anywhere

 in the Borough. Another irrelevant objection from Chairman Green was that the substance-abuse

 business is self-regulated. Id., Ex. E, 1/24/18 Tr. at 136-37. There is no evidence that the

 inspections and regulations imposed by both the Joint Commission of Hospitals and the New

 Jersey Office of Licensure are ineffective or that the regulatory scheme is, as Chairman Green put

 it, “a safety problem.”    Similar to Chairman Green’s reliance on the insurance industry’s

 involvement, his denial based on the state regulatory agencies’ involvement reveals that he would

 not approve a treatment facility at any location within the Borough.

        In sum, no evidence was presented to establish any negative criteria, challenge the

 testimony of Plaintiff’s experts, or offer objective reasons to deny the variance. And yet the Board

 voted unanimously to deny Plaintiff’s request for reasonable accommodation. The lack of any

 evidentiary support for that denial is further proof that Defendants based their decision on

 unsupported discriminatory statements and opinions of residents and Board Members.

            Effect of Defendants’ Denials on Plaintiff and Its Intended Patients

        Plaintiff’s intended patients will benefit significantly from obtaining access to Plaintiff’s

 innovative addiction treatment model. Plaintiff presented evidence at the hearings establishing the

 seriousness of the addiction crisis, particularly in Middlesex County, as well in the rest of New

 Jersey and throughout the nation. Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 28-33, 66-68, 124-

 27. Plaintiff also presented evidence establishing the dearth of addiction treatment options in the

 area, and the absence of opportunities for similar Facilities to operate anywhere, in any zone,

 within the Borough. Id., Ex. C, 11/8/17 Tr. at 132-33; Ex. D, 12/13/17 Tr. at 88-89.

        Thus, by delaying the Facility through their unlawful zoning denials, Defendants are

 denying Plaintiff’s prospective patients access to desperately needed medical treatment close to

 their homes, families and support networks. Id. ¶ 31. Plaintiff is ready, willing and able to proceed

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 with renovation and operation of the Facility, but cannot do so because the Defendants refuse to

 issue the necessary approvals and permits. Id. ¶ 32. Moreover, Plaintiff’s intended patients lack

 any remedy that will allow them to access the addiction treatment the Facility will provide. Thus,

 every day that passes without injunctive relief exposes Plaintiff and its patients to irreparable harm.

         Further, the Board’s discriminatory conduct forced Plaintiff and Landlord to amend the

 lease agreement to include a clause allowing Plaintiff to terminate the lease without incurring

 additional financial obligations if notice is given to Landlord within ten days of March 31, 2018.

 Carise Cert. ¶ 30. If Plaintiff cannot obtain zoning approval by that deadline, they may lose entirely

 the opportunity to provide substance-abuse treatment to those in the Sayreville area.3 Id.

 IV.     LEGAL ARGUMENT

             The FHA, ADA, RA and Equal Protection Clause Prohibit Municipalities from
             Enforcing Ordinances in a Manner that Discriminates Against the Disabled

                 1. The Legal Framework

         The Fair Housing Act. Congress originally enacted the FHA in 1968 and then amended

 it in 1988 to extend its guarantee of fair housing to individuals with disabilities. The FHA defines

 the term “handicap” as “a physical or mental impairment which substantially limits one or more

 of such person’s major life activities …” 42 U.S.C. § 3602(h). Under the FHA, it is unlawful:

         (1) To discriminate against or otherwise make unavailable or deny a dwelling to
         any buyer or renter because of a handicap of-- (A) that buyer or renter; (B) a person
         residing in or intending to reside in that dwelling after it is so sold, rented, or made
         available; or (C) any person associated with that buyer or renter.
         (2) To discriminate against any person in the terms, conditions, or privileges of sale
         or rental of a dwelling, or in the provision of services or facilities in connection
         with such dwelling, because of the handicap of-- (A) that person; or (B) a person

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  Moreover, Plaintiff has invested approximately $1,385,000 in the Property and Facility, including
 $226,000 to lease the Property, $458,000 for design and preconstruction activities, $651,000 for
 professional services, and $50,000 for facilities expenses. Carise Cert. ¶ 28. As a result of the
 delays caused by Defendants, Plaintiff will suffer a variety of economic damages, including
 substantial lost profits that are difficult to calculate with a reasonable degree of certainty. Id. ¶ 29.

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        residing in or intending to reside in that dwelling after it is so sold, rented, or made
        available; or (C) any person associated with that person.
 42 U.S.C. § 3604(f).

        The Rehabilitation Act. The RA provides that “[n]o otherwise qualified individual with a

 disability … shall, solely by reason of her or his disability, be excluded from the participation in,

 be denied the benefits of, or be subjected to discrimination under any program or activity receiving

 Federal financial assistance….” 29 U.S.C. § 794(a).

        The Americans with Disabilities Act. The ADA provides that “no qualified individual

 with a disability shall, by reason of such disability, be excluded from participation in or be denied

 the benefits of the services, programs, or activities of a public entity, or be subjected to

 discrimination by any such entity.” 42 U.S.C. § 12132. ADA regulations prohibit public entities

 from discriminating against qualified individuals with disabilities (1) in administering a licensing

 program in a manner that subjects them to discrimination on the basis of the disability and (2) in

 establishing requirements for programs or activities of licensees that subject qualified individuals

 with disabilities to discrimination on the basis of disability. 28 C.F.R. § 35.130(b)(6). The

 regulations prohibit public entities from determining the location of a facility in a way that has the

 purpose or “effect of excluding individuals with disabilities from, denying them the benefits of

 [the facility], or otherwise subjecting them to discrimination.” 28 C.F.R. § 35.130(4)(i).4

        The Fourteenth Amendment to the U.S. Constitution. A law that treats disabled persons

 differently than those without disabilities when the distinction bears no rational relationship to a




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   The Third Circuit has noted that “‘[a]s the ADA simply expands the Rehabilitation Act’s
 provisions against discrimination into the private sector, Congress has directed that the two acts’
 judicial and agency standards be harmonized’ and we will accordingly analyze the two provisions
 together.” New Directions Treatment Servs. v. City of Reading, 490 F.3d 293, 302 (3d Cir. 2007)
 (quoting Newman v. GHS Osteopathic, Inc., 60 F.3d 153, 157-58 (3d Cir. 1995)).

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 legitimate state interest violates the equal protection clause of the Fourteenth Amendment. See

 City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432 (1985).

        The Borough of Sayreville Land Development Ordinance. The Ordinance governs

 properties conditionally approved for use in the PRIME zone. Himelman Cert. ¶ 2, Ex. A. The

 Ordinance identifies a number of conditionally permitted uses within the PRIME zone, including

 long-term care and nursing facilities, id., Ex. A (§ 26-85(b)(5)), which the Ordinance defines as:

        a facility which provides a full range of twenty-four (24) hour direct medical
        nursing and other health services. Registered nurses, licensed practical nurses and
        nurses’ aides provide services prescribed by a residence physician. It is for those
        older adults who need health supervision but not hospitalization. The emphasis is
        on nursing care, but restorative physical occupational speech and respiratory
        therapies are also provided. This level of care may also include specialized nursing
        services such as intravenous feeding or medication, tube feeding, injected
        medication, daily wound care, rehabilitation services and monitoring of unstable
        conditions.

 Id., Ex. A (§ 26-6).

            2. The FHA, ADA, RA and Equal Protection Clause Apply to Zoning Decisions

        The FHA, ADA and RA apply to municipal zoning decisions. See, e.g., McKivitz v. Twp.

 of Stowe, 769 F. Supp. 2d 803, 823-24 (W.D. Pa. 2010) (“The FHA, the Rehabilitation Act and

 the ADA are all applicable to zoning decisions.”); Bay Area Addiction Research and Treatment,

 Inc. v. City of Antioch, 179 F.3d 725, 730 (9th Cir. 1999) (the ADA and RA “apply to zoning”);

 Larkin v. State of Mich. Dep’t of Soc. Servs., 89 F.3d 285, 289 (6th Cir. 1996) (“Congress explicitly

 intended for the FHAA to apply to zoning ordinances”). Due to their close relationship and many

 similarities, courts analyze these statutes as essentially coextensive. See Collings v. Longview

 Fibre Co., 63 F.3d 828, 832 n. 3 (9th Cir.1995) (noting that “Congress intended judicial

 interpretation of the Rehabilitation Act be incorporated by reference when interpreting the ADA”);

 Schwarz v. City of Treasure Island, 2006 WL 2521399, at *14 (M.D. Fla. Aug. 1, 2006) .



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        In applying the tenets of these anti-discrimination statutes, courts consistently find

 violations where municipalities apply their zoning laws in a manner that thwarts an addiction

 treatment provider’s ability to open and operate in the community. See New Directions Treatment

 Servs. v. City of Reading, 490 F.3d 293, 304-05 (3d Cir. 2007) (the application of a law that

 “singles out methadone clinics for different zoning procedures is facially discriminatory under the

 ADA and the Rehabilitation Act”); MX Group, Inc. v. City of Covington, 293 F.3d 326 (6th Cir.

 2002) (affirming judgment in favor of drug treatment provider challenging denial of zoning permit

 and ordinance targeting methadone clinics as discriminatory under the ADA and Rehabilitation

 Act); Oxford House, Inc. v. Twp. of Cherry Hill, 799 F. Supp. 450 (D.N.J. 1992) (finding township

 ordinance discriminatory under the FHA and enjoining defendant from enforcing it against

 operator of residential rental homes for individuals recovering from alcoholism and addiction).

            3. Drug and Alcohol Addiction Are Disabilities Under the FHA, ADA and RA

        The FHA, ADA and RA define “disability” or “handicap” almost identically. See Bogdan

 v. Abbott, 524 U.S. 624, 631 (1998). Under these statutes, a disability is a physical or mental

 impairment that substantially limits one or more of a person’s major life activities. 42 U.S.C. §

 3602(h)(1); 42 U.S.C. § 12102(1); 29 U.S.C. § 705(9). Critically, “[i]t is clear that Congress

 contemplated alcoholism and drug addiction as being among the kinds of ‘impairments’ covered

 under this definition.” Oxford House, Inc., 799 F. Supp. at 459; see also 28 C.F.R. 41.31(b)(1)(i)

 (defining drug addiction and alcoholism as a “physical or mental impairment” qualifying as

 handicap under the ADA). Moreover, both alcoholism and opioid addiction may, and often do,

 substantially limit major life activities. RHJ Med. Ctr., Inc. v. City of DuBois, 754 F. Supp. 2d

 723, 756-762 (W.D. Pa. 2010). Thus, individuals recovering from drug and alcohol addiction

 qualify as disabled under these anti-discrimination laws. See Lakeside Resort Enters., LP v. Bd.

 of Supervisors of Palmyra Twp., 455 F.3d 154, 156 n.5 (3d Cir. 2006) (“recovering alcoholics and

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 drug addicts are handicapped, so long as they are not currently using illegal drugs”); Sullivan v.

 City of Pittsburgh, Pa., 811 F.2d 171, 182 (3d Cir. 1987) .

            4. Types of Discrimination

        Violations of the FHA, ADA and RA’s prohibitions on disability discrimination may

 proceed under any or all of three liability theories: (1) disparate treatment; (2) disparate impact;

 and (3) failure to make reasonable accommodations. See 42 U.S.C. § 3604(f); Lapid-Laurel,

 L.L.C. v. Zoning Bd. of Adjustment of the Twp. of Scotch Plains, 284 F.3d 442, 448 (3d Cir. 2002).

        Disparate Treatment.      “To prevail on a disparate treatment claim, a plaintiff must

 demonstrate that some discriminatory purpose was a ‘motivating factor’ behind the challenged

 action.” Cmty. Servs., Inc. v. Wind Gap Mun. Auth., 421 F.3d 170, 177 (3d Cir. 2005). The

 discriminatory purpose need not be motivated by hostility towards a particular handicap, as “[t]he

 plaintiff is only required to ‘show that a protected characteristic played a role in the defendant’s

 decision to treat her differently.’” Id. (quoting Cmty. Housing Trust v. Dep’t of Consumer &

 Regulatory Affairs, 257 F. Supp. 2d 208, 225 (D.D.C. 2003)); see also Horizon House

 Developmental Servs., Inc. v. Twp. Of Upper Southampton, 804 F. Supp. 683, 696 (E.D. Pa. 1992)

 (“In order to prove intentional discrimination it is not necessary to show an evil or hostile motive.

 It is a violation of the FHAA to discriminate even if the motive was benign or paternalistic”). In

 assessing whether a municipality acted with discriminatory intent, courts consider: (1) the

 discriminatory impact of the municipal action; (2) the historical background of the action; (3) the

 sequence of events leading to the action; (4) departures from normal procedural sequences; and

 (5) departures from normal substantive criteria. See LeBlanc-Sternberg v. Fletcher, 67 F.3d 412,

 425 (2d Cir. 1995); Resident Advisory Bd. V. Rizzo, 564 F.2d 126, 142 n. 22 (3d Cir. 1977).

        Disparate Impact. The discrimination statutes also prohibit municipal decisions having a

 “disparate impact” on the disabled. 42 U.S.C. § 3604(f)(3)(B); Anderson v. Duncan, 20 F. Supp.

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 3d 42, 54 (D.D.C. 2013). Courts reviewing disparate impact claims under the FHA, ADA and RA

 borrow the framework established for similar Title VII claims. Lapid-Laurel, 284 F.3d at 466. To

 establish a prima facie case, the plaintiff must show the municipality’s action had a greater adverse

 impact on the protected group than on others, regardless of intent. Id. Once the plaintiff does so,

 the burden shifts to the defendant to establish it had a legitimate, non-discriminatory reason for the

 action and no less discriminatory alternatives were available. Id. at 467. Disparate impact is

 established when the plaintiff shows that outwardly neutral practices have a significant adverse or

 disproportionate impact on persons with disabilities. Id. This does not require any showing of

 animus or intent. Oxford House, 799 F. Supp. at 461 n.23. Rather, the plaintiff “need prove no

 more than that the conduct of defendants actually or predictably results in … discrimination; in

 other words, that it has a discriminatory effect… Effect, and not motivation, is the touchstone….”

 United States v. City of Black Jack, Mo., 508 F.2d 1179, 1184-85 (8th Cir. 1974).

        Failure to Make Reasonable Accommodations. Under the FHA, discrimination is defined

 to include “refusal to make reasonable accommodations in the rules, policies, practices or services,

 when such accommodations may be necessary to afford [a handicapped] person equal opportunity

 to use and enjoy a dwelling.” 42 U.S.C. § 3604(f)(3)(B). Similarly, “[t]he ADA and the

 Rehabilitation Act also prohibit all discrimination based on disability by public entities,” and both

 statutes “require[] that covered entities make reasonable accommodations in order to provide

 qualified individuals with an equal opportunity to receive benefits from or to participate in

 programs run by such entities.” Reg’l Econ. Cmty Action Program, Inc. v. City of Middletown,

 294 F.3d 35, 45 (2d Cir. 2002), superseded by statute on other grounds, ADA Amendments Act

 of 2008, Pub. L. No. 110-325, 122 Stat. 3553. To succeed on a reasonable accommodation claim,

 the plaintiff must show that “the requested accommodation is ‘(1) reasonable and (2) necessary to



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 (3) afford handicapped persons an equal opportunity to enjoy housing.’” Lapid-Laurel, 284 F.3d

 at 457 (quoting Bryant Woods Inn, Inc. v. Howard County, 124 F.3d 597, 603 (4th Cir. 1997)).

        Here, too, a burden-shifting analysis applies: the plaintiff must show that the requested

 accommodation is necessary to allow disabled persons an equal opportunity to use and enjoy a

 dwelling. Id. To show necessity, the plaintiff must establish that the proposed accommodation

 will “affirmatively enhance” a handicapped person’s quality of life “by ameliorating the effects of

 [his or her] disability.” Bronk v. Ineichen, 54 F.3d 425, 429 (7th Cir. 1995). Once the plaintiff

 establishes a prima facie case, the burden of proof shifts to the municipality, which must show that

 the accommodation is not reasonable. ReMed Recovery Care Ctrs. v. Twp. of Willistown, 36 F.

 Supp. 2d 676, 684 (E.D. Pa. 1999) (citing Hovsons, Inc. v. Twp. of Brick, 89 F.3d 1096, 1104 (3d

 Cir. 1996)). To meet this burden, the municipality must prove that the accommodation (1) imposes

 an undue financial and administrative burden; (2) would impose undue hardship; or (3) requires a

 fundamental alteration in the nature of its zoning scheme. Hovsons, 89 F.3d at 1104.

            Plaintiff Should Be Granted a Preliminary Injunction and the Defendants
            Should Be Immediately Directed to Issue All Approvals Necessary for Plaintiff
            to Open and Operate the Facility

        The FHA includes an express authorization of injunctive relief:

        [I]f the court finds that a discriminatory housing practice has occurred or is about
        to occur, the court … may grant as relief, as the court deems appropriate, any
        permanent or temporary injunction, temporary restraining order, or other order
        (including an order enjoining the defendant from engaging in such practice or
        ordering such affirmative action as may be appropriate).
 42 U.S.C. § 3613(c)(1). The remedies available under the ADA and RA likewise include

 injunctive relief. See J.M. Ex rel. A.M. v. E. Greenwich Twp. Bd. of Educ., 2008 WL 819968, at

 *5 n. 2 (D.N.J. Mar. 25, 2008) (citing A.W. v. Jersey City Public Schools, 486 F.3d 791, 804 (3d

 Cir. 2007)). To prevail on a motion for preliminary injunctive relief, the moving party must

 demonstrate: (1) a reasonable probability of success on the merits; (2) the probability of irreparable

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 harm if relief is not granted; (3) the balance of hardships favors the movant; and (4) the public

 interest favors granting relief. Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004).

            1. Plaintiff is Likely to Prevail on the Merits

        Defendants’ denial of Plaintiff’s zoning application, insistence on a use variance

 application it had no intention of granting, and denial of that application constitute unlawful

 discrimination under the Equal Protection Clause and all three types of claims (disparate treatment,

 disparate impact and failure to provide reasonable accommodations) identified in the FHA, ADA

 and RA. Accordingly, for the reasons detailed below, Plaintiff is likely to prevail on the merits.

                a) Plaintiff Has Standing

        “Standing under the Fair Housing Act is as broad as Article III permits.” Mhany Mgmt.,

 Inc. v. County of Nassau, 819 F.3d 581, 600 (2d Cir. 2016) (citing Havens Realty Corp. v.

 Coleman, 455 U.S. 363, 372 (1982)). The same is true of the ADA and RA. Addiction Specialists,

 Inc. v. Twp. of Hampton, 411 F.3d 399, 407 (3d Cir. 2005).5 As individuals suffering from

 alcoholism and drug addiction, Plaintiff’s intended patients are “handicap[ped]” within the

 meaning of the FHA and “qualified individual[s]with a disabilit[ies]” within the meaning of the

 ADA and RA. See 42 U.S.C. § 3604(f); 42 U.S.C. § 12132; 29 U.S.C. § 794(a). As the operator

 of the proposed facility that has been prevented from providing rehabilitation services and housing

 to its handicapped and disabled intended patients, Plaintiff has suffered particularized injury

 sufficient to confer standing on it. See Caron Found. of Fla., Inc. v. City of Delray Beach, 879 F.


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   The FHA confers standing to challenging discriminatory housing practices on any “aggrieved
 person,” defined as anyone who (1) claims to have been injured by a discriminatory housing
 practice; or (2) believes that such person will be injured by a discriminatory housing practice that
 is about to occur.” LeBlanc-Sternberg, 67 F.3d at 424. The ADA grants a right to relief to “any
 person alleging discrimination on the basis of disability,” 42 U.S.C. § 12133, and the RA extends
 remedies to “any person aggrieved” by unlawful discrimination. 29 U.S.C. § 794a(a)(2). Thus, a
 plaintiff “denied a zoning permit because it cares for and/or associates with individuals who have
 disabilities” possesses standing to sue “on its own behalf.” MX Group, 293 F.3d at 335.

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 Supp. 2d 1353, 1364 (S.D. Fla. 2012) (operator of facility that serves qualified individuals with

 disabilities possesses standing to sue).

                b) This Action Is Ripe for Review

        Defendants have repeatedly denied Plaintiff’s zoning applications and rejected its requests

 for reasonable accommodations. Plaintiff’s efforts to appeal the Zoning Officer’s decision, and its

 Use Variance application were summarily denied. Any attempt to return to the same Board for

 further consideration would be futile.       Assisted Living Assocs. of Moorestown, L.L.C. v.

 Moorestown Twp., 996 F. Supp. 409, 426 (D.N.J. 1998) (“The proposition that ‘litigants are not

 required to make futile gestures to establish ripeness’ has been applied [to zoning cases]”) (quoting

 Sammon v. New Jersey Bd. of Med. Examiners, 66 F.3d 639, (3d Cir.1995)); see also Easter Seal

 Soc’y of New Jersey v. Township of N. Bergen, 798 F. Supp. 228, 236 (D.N.J.1992) (finding that

 “any further efforts to work within the municipal administrative apparatus [by pursuing appeals]

 would be an exercise in futility”). Thus, Plaintiff’s claims are ripe for adjudication.6 Pathways

 Psychosocial v. Town of Leonardtown, MD, 133 F. Supp. 2d 772, 789 (D. Md. 2001) (“the issue

 is sufficiently concrete for judicial resolution once an accommodation is denied”).

                c) Defendants Intentionally Discriminated Against Plaintiff and Its Intended
                   Patients by Treating Them Disparately from Those Without Disabilities

        As to Plaintiff’s applications for zoning approval and use variance, Defendants’ intentional

 discrimination could not have been more blatant. Numerous expert witnesses testified that while

 the Facility’s proposed use is not exactly enumerated within the language of the Ordinance, a drug

 and alcohol rehabilitation and residential care facility is “very similar . . . [and] not inconsistent


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   Courts considering FHA and ADA cases consistently emphasize that housing discrimination
 gives rise to uniquely immediate injury, making such controversies ripe. See, e.g., McKivitz, 769
 F. Supp. 2d at 820 (“a statutory violation occurs as soon as a request for a federally-mandated
 ‘reasonable accommodation’ is denied”).


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 with other uses that are permitted in the zone.” Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 130.

 Even the Board’s expert planning consultant testified that the Property is an appropriate place for

 the Facility. Id. at 142-44. Thus, zoning approval should not have been denied in the first place.

        Having denied Plaintiff zoning approvals to which it is entitled, Defendants have treated

 Plaintiff differently than other property owners within the PRIME zone and other operators of

 residential healthcare facilities. The record establishes that Defendants have done so due entirely

 to Plaintiff’s association with disabled recovering drug addicts and alcoholics, whom Defendants

 irrationally fear. Indeed, the Court need not employ much deductive effort to glimpse Defendants’

 discriminatory motivations because they laid them bare for all to see in various hearings (as

 detailed above). Refusing to accept Plaintiff’s consent to multiple conditions placed on the Facility

 as solutions to a variety of concerns Board members brought up at the hearings, and relying on

 unfounded statements, including some that were directly contradicted by expert testimony, shows

 the extent to which the Board will go to justify a denial that has no legitimate rationale.

        Because the Board members could not deny that the proposed use is inherently beneficial,

 each member feigned support for the Facility, but qualified their statements with impermissible

 NIMBY logic. For example, Chairman Green stated, that “[t]here are many other areas within

 Sayreville that could be explored for this type of facility . . . Sayreville understands this type of

 needed use, just not at the present location.” Id., Ex. E, 1/24/18 Tr. at 139. And Commissioner

 Kucynski admitted that “there’s no doubt that this in an inherently beneficial use . . . I just think

 it’s in the wrong place.” Id., Ex. E, 1/24/18 Tr. at 144. In other words, they simply did not want

 Plaintiff to use the Property for a purpose to which it was legally entitled because, in their view, if

 the Facility was located in the subject neighborhood, they would be putting “the people of the




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 school, the children of the school, in danger,” and it would somehow “destroy the quality of life

 for the people in this neighborhood.” Id., Ex. E, 1/24/18 Tr. at 147.

        These obvious departures from the reasonable interpretation of the Ordinance, and clear

 disregard for substantive criteria evince Defendants’ discriminatory intent and resulted in

 undeniably disparate treatment. Thus, Plaintiff is likely to succeed on the merits on their disparate

 treatment claims under the FHA, ADA and RA, as well as on their Equal Protection claim.

                d) Defendants’ Application of the Ordinance to the Proposed Facility Has Had
                   a Disparate Impact on Plaintiff

        By denying approval for a proposed residential treatment facility when they have already

 approved an operationally identical nursing home facility, Defendants’ decision has had a greater

 adverse impact on a protected group—Plaintiff’s disabled intended patients—than others similarly

 situated. The record makes this crystal clear, though it is already obvious based on common sense:

 unlike Plaintiff, anyone who sought to operate a residential healthcare facility in the PRIME zone

 for patients without these types of disabilities—i.e., people who, unlike recovering addicts, do not

 elicit fears of “safety issues,” “brazen crime” or “a poor element” nearby—would have been free

 to do so without interference from Defendants. In fact, Defendants advised Sayreville Nursing,

 LLC in 2014 that its facility was approved as of right in the PRIME zone (Himelman Cert., Ex. C,

 11/8/17 Tr. at 9-10), and the Facility’s use as a long-term care and rehabilitation center is, for

 zoning purposes, indistinguishable from the nursing home (id., Ex. C, 11/8/17 Tr. at 100-03, 130-

 32, 142-44; Ex. D, 12/13/17 Tr. at 90). This indisputably establishes Plaintiff’s prima facie case.

        Accordingly, the burden shifts to Defendants to show a legitimate, non-discriminatory

 reason and that no less-discriminatory alternative is available. But Defendants have not offered

 and cannot offer any legitimate, non-discriminatory reason for their decision to deny Plaintiff’s

 Variance Application. Plaintiff is thus likely to succeed on its disparate impact claims as well.


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                e) Defendants Failed to Provide a Reasonable Accommodation

        Plaintiff reminded Defendants they were obligated, given the disabled status of Plaintiff’s

 intended patients, to provide reasonable accommodations to permit the Facility, especially given

 that the Code does not expressly allow a drug and alcohol rehabilitation facility anywhere in the

 Borough. See Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 133; Ex. D, 12/13/17 Tr. at 88-89.

 Plaintiff proffered a wealth of undisputed evidence that its treatment model will serve a therapeutic

 purpose for the disabled residents; the Board agreed that the use is inherently beneficial. Thus,

 Plaintiff has established a prima facie case for the necessity of a reasonable accommodation.

        The burden then shifted to Defendants to show that the accommodation requested was not

 reasonable. Defendants, however, did not and cannot prove anything in this regard. To meet this

 heavy burden, Defendants would have to establish that Plaintiff’s request imposes an undue

 financial and administrative burden; would impose undue hardship; or require a fundamental

 alteration in the Borough’s zoning scheme. Defendants cannot make any such showing (and did

 not attempt to do so). Defendants offered no evidence to counter the statements of multiple experts

 that the Facility complies with the zoning requirements and poses no threat to the zoning scheme

 within the PRIME zone, as it is very similar to other established permitted uses. See, e.g.,

 Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 130-32. The Board made no showing of hardship or

 burden resulting from Plaintiff’s application, and cannot do so. This leaves Defendants with no

 hope of justifying their failure to grant the requested accommodation. Thus, Plaintiff demonstrated

 they are likely to succeed on their claims for failure to provide reasonable accommodations.

                2. Plaintiff and Its Patients Will Suffer Irreparable Harm

        Irreparable harm means injury that (a) is neither remote nor speculative, but actual and

 imminent; and (b) cannot be remedied by monetary damages.            Some courts have held that a

 showing of a substantial likelihood of an FHA violation gives rise to a presumption of irreparable

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 harm and shifts the burden to the defendant to prove that the injury is not irreparable. See Gresham

 v. Windrush Partners, Ltd., 730 F.2d 1417, 1423-24 (11th Cir. 1984); Rogers v. Windmill Pointe

 Vill. Club Ass’n, Inc., 967 F.2d 525, 528 (11th Cir. 1992) (“when a plaintiff . . . shows a substantial

 likelihood that a defendant has violated specific fair housing statutes and regulations, that alone,

 if unrebutted, is sufficient to support an injunction remedying those violations”) (citation omitted).

 This presumption “is not inconsistent with practice within the Third Circuit.” Assisted Living

 Associates of Moorestown, 996 F.Supp. at 439 (holding that “given the very strong likelihood of

 success on the merits of the FHA claim, . . . a presumption of irreparable harm is warranted”)

 (citing, inter alia, United States Postal Serv. v. Beamish, 466 F.2d 804 (3d Cir. 1972)).

        But regardless of whether a presumption arises, “[c]ourts have held that the deprivation of

 treatment needed to recover from addiction or prevent relapse constitutes irreparable injury.”

 Innovative Health Sys., Inc. v. City of White Plains, 931 F. Supp. 222, 240 (S.D.N.Y. 1996).

 Irreparable injury exists where there is a deprivation of housing or services that poses a serious

 risk of harm to vulnerable individuals. See Easter Seal Soc’y v. Twp. of N. Bergen, 798 F. Supp.

 228, 237 (D.N.J. 1992) (“[F]or each day that this project is delayed, eight protected individuals are

 forced to move into other environments which endanger their recent recovery” constituting

 irreparable harm); Oxford House-Evergreen v. City of Plainfield, 769 F. Supp. 1329, 1345 (D.N.J.

 1991) (holding that closure of group home for substance abusers would cause irreparable harm

 due to loss of home and supportive and stable environment). Thus, prospective patients’ delay in

 receiving treatment as a result of defendants’ actions constitutes imminent irreparable harm.

        Here, Defendants’ actions have denied treatment opportunities to the disabled, a loss not

 compensable by money damages. Moreover, Defendants’ discriminatory denial of what they have

 already admitted represents an “inherently beneficial use” jeopardizes Plaintiff’s financial ability



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 to renovate and operate the proposed facility in the future at the desired location, further harming

 both Plaintiff and its intended patients. Furthermore, the opportunity to open and operate the

 Facility is not indefinite (see Carise Cert. ¶ 30), and Plaintiff may lose its interest in the Property

 altogether if immediate relief is not granted. This more than suffices as irreparable harm.

                3. Granting Relief Will Not Harm Defendants

        Defendants will not suffer undue financial or administrative burden or any other hardship

 if the appropriate approvals are issued for the Facility. See ReMed, 36 F. Supp. 2d at 688; Judy B.

 v. Borough of Tioga, 889 F. Supp. 792, 801-02 (M.D. Pa. 1995). Defendants have conceded that

 the Facility is a beneficial use, and that the use is appropriate for the PRIME zone. See, e.g.,

 Himelman Cert. ¶ 11, Ex. C, 11/8/17 Tr. at 142-44. The record is devoid of evidence that

 approving the Facility will result in a greater impact on municipal services than other permitted

 facilities. Contrasted against the great harm Plaintiff and its intended patients have suffered and

 continue to suffer daily, the balance of the equities clearly supports issuance of an injunction.

                4. Granting Relief Best Serves the Public Interest

        The requested injunction serves “the public interest in bettering the lives of the disabled

 and allowing them to live lives on a footing equal to the non-handicapped, policies endorsed by

 Congress with passage of the FHAA, section 504 of the rehabilitation act, and comparable

 legislation intended to remove impediments to the handicapped enjoying the same rights and

 privileges as all other citizens.” Judy B., 889 F. Supp. at 801 (citing Instant Air Freight, 882 F.2d

 797, 803 (3d Cir. 1989) (legislative expressions of public policy in statutes may be relied on to

 define “public interest” for purposes of preliminary injunction analysis)). This is particularly so

 in light of the broad construction and remedial scope of these anti-discrimination statutes. See 42

 U.S.C. § 12101(b); City of Edmonds v. Oxford House, Inc., 514 U.S. 725, 731 (1995); Frasure v.

 Principi, 367 F. Supp. 2d 245, 258 (D. Conn. 2005). As one court explained it, “we would be

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 hard-pressed to deny the significance of the public interest in supporting efforts … to assist in and

 encourage the recovery of alcoholics and drug addicts.” Oxford House, 799 F. Supp. at 465. Thus,

 Congressional efforts to eliminate discrimination mirror the public interest here and far outweigh

 Defendants’ non-existent interest in misinterpretation of their zoning Ordinance (by prohibiting a

 nursing or long-term care facility that does not serve “older adults,” even though such a facility,

 for zoning purposes, is identical to a nursing home for elderly persons). See ReMed, 36 F. Supp.

 2d at 688-89. Preventing discrimination is precisely what the requested injunction would achieve.7

 V.     CONCLUSION

        For the foregoing reasons, the Court should enter a preliminary injunction (a) directing

 Defendants to immediately issue all zoning approvals necessary for the construction and operation

 of the Facility; and (b) enjoining Defendants from persisting in discriminatory conduct designed

 to thwart the construction and operation of that Facility.

 Dated: March 6, 2018                          MARINO, TORTORELLA & BOYLE, P.C.
        Chatham, New Jersey

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                                               (admission pro hac vice to be sought)
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   Defendants’ conduct also violates the New Jersey Law Against Discrimination (“NJLAD”),
 which makes it a violation for a “municipality . . . or an officer, employee, or agent thereof to
 exercise the power to regulate land use or housing in a manner that discriminates” on the basis of
 disability. N.J.S.A. 10:5-12.5. “New Jersey courts apply federal standards to [the NJLAD’s]
 provisions.” Weiss v. Rutgers Univ., 2014 WL 2608201, at *4 (D.N.J. June 10, 2014) (citations
 omitted). Thus, analysis of Plaintiff’s NJLAD claim mirrors that of its federal claims.

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